          Case 1:22-cr-00048-CJN Document 91 Filed 08/26/24 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :       CRIMINAL NO.: 22-cr-48 (CJN)
                                             :
               v.                            :
                                             :
                                             :
MARTIN KAO,                                  :
                                             :
                         Defendant.          :



                                      STATUS REPORT

       On September 27, 2022, Defendant Martin Kao pleaded guilty in the present matter

pursuant to a plea agreement. See Dkt. No. 33. As part of this agreement, the Government agreed

not to object to any request that a sentence imposed on the Defendant in the current matter be

served concurrently with any sentence from the Defendant’s other criminal conviction in the

District of Hawaii (Case No. 1:21-cr-00061(LEK)). The Defendant requested that the Court

continue his sentencing in the District of Columbia until after he had been sentenced in Hawaii.

See Dkt. No. 48. This request has been renewed and granted. See Dkt. 65. At the time of the

second request to schedule sentencing in this matter after the conclusion of sentencing in the

District of Hawaii, the parties represented to the Court that sentencing in the District Hawaii was

scheduled to take place in September 2023. That sentencing was subsequently continued several

times. See Dkt. Nos. 119, 124, 126, 127. On August 21, 2024, that sentencing in the District of

Hawaii was continued until October 29, 2024. See Dkt. No. 138. Accordingly, the parties

respectfully propose updating the Court on the resolution of sentencing in the District of Hawaii

no more than one week after the sentencing hearing is concluded.




                                                 1
Case 1:22-cr-00048-CJN Document 91 Filed 08/26/24 Page 2 of 2




                           Respectfully submitted,

                           MATTHEW M. GRAVES
                           UNITED STATES ATTORNEY



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